23-10164-smr Doc#253 Filed 08/10/23 Entered 08/10/23 13:14:15 Main Document Pg 1 of 2

  Hearing shall be held on 8/30/2023 at 10:00 AM in Austin Courtroom
  1. Movant is responsible for notice.




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: August 10, 2023

                                                    ________________________________________
                                                               SHAD M. ROBINSON
                                                       UNITED STATES BANKRUPTCY JUDGE
  ______________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

    In re:                                          §
                                                    §       Case No. 23-10164-smr
    ASTRALABS, INC.,                                §
                                                    §       Chapter 7
              Debtor.                               §

          ORDER GRANTING TRUSTEE’S MOTION FOR STATUS CONFERENCE

             On this date, the Court considered the Trustee’s Motion for Status Conference

   (the “Motion”). The Court finds that the Motion complies with Title 11 of the United States Code,

   §§ 101 et seq., the Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules for

   the Western District of Texas, that notice thereof is adequate under the particular circumstances,

   and that the Motion demonstrates that sufficient cause exists for scheduling a status conference in

   this Bankrutpcy Case. It is therefore:

             1.    ORDERED that the Motion is GRANTED; it is further

             2.    ORDERED that a status conference shall be held before the Court on the date and

                   time set forth above, on the face of this Order. It is further,




                                                        1
23-10164-smr Doc#253 Filed 08/10/23 Entered 08/10/23 13:14:15 Main Document Pg 2 of 2




          3.     ORDERED that the movant, through its counsel of record, shall be responsible to

                 provide notice of this hearing.

                                                   ###

   Order respectfully submitted by:
   Jay H. Ong
   Texas Bar No. 24028756
   Thanhan Nguyen
   Texas Bar No. 24118479
   Munsch Hardt Kopf & Harr, P.C.
   1717 West 6th Street, Suite 250
   Austin, Texas 78703
   Telephone: (512) 391-6100
   Facsimile: (512) 391-6149

   Counsel For Randolph N. Osherow,
   Chapter 7 Trustee




                                                    2
